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                    IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

IN RE:                                        §
                                              §
1960 FAMILY PRACTICE, P.A.,                   §       Case No. 20-35493
                                              §       (Chapter 7)
               Debtor.                        §

                       NOTICE OF AFFIDAVIT OF DR. HUONG LE,
                       REPORTING COMPLIANCE WITH ORDER
                                  [Ref. Dkt. No. 149]

TO THE HONORABLE EDUARDO V. RODRIGUEZ, U.S. BANKRUPTCY JUDGE:

       COMES NOW, DR. HUONG LE (“Le”), and files this her Notice of Affidavit of Dr.

Huong Le, Reporting Compliance with Order.

DATED:         April 17, 2023                 Respectfully submitted,

                                              THE PROBUS LAW FIRM

                                              By:___/s/ Matthew B. Probus___
                                                    Matthew B. Probus
                                                    State Bar No. 16341200
                                                    Federal ID 10915
                                                    matthewprobus@theprobuslawfirm.com

                                              10497 Town & Country Way, Suite 930
                                              Houston, Texas 77024
                                              (713) 258-2700 (Telephone)
                                              (713) 258-2701 (Facsimile)

                                              ATTORNEYS FOR HUONG LE

                                CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing instrument has been served on
this 17th day of April 2023, via the Court’s PACER/ECF system, including counsel for the Debtor
Ron Sommers, counsel for the Trustee, Miriam Goott, and the counsel for the United States
Trustee.

                                              /s/ Matthew B. Probus
                                              Matthew B. Probus


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                                  FIRST MODIFICATION OF NOTE, DEED OF TRUST
                                         AND OTHER LOAN AGREEMENTS

NOTICE OF CONFIDENTIALITY RIGHTS: IF YOU ARE A NATURAL PERSON, YOU MAY
REMOVE OR STRIKE ANY OR ALL OF THE FOLLOWING INFORMATION FROM ANY
INSTRUMENT THAT TRANSFERS AN INTEREST IN REAL PROPERTY BEFORE IT IS
FILED FOR RECORD IN THE PUBLIC RECORDS: YOUR SOCIAL SECURITY NUMBER OR
YOUR DRTVER'S LICENSE NUMBER.

THE STATE OF TEXAS                              $
                                                $                   KNOW ALL MEN BY THESE PRESENTS:
COLINTY OF HARRIS                               $
                                                                                    Ln      gooSgg-3
        THAT, WHEREAS,INDEPENDENT BANK, astatebankingassociation ("Lender"), isthecurrent
holder of that certain Balloon Real Estate Lien Note dated effective August 27r2018 (the "Original Note"),
evidencing a loan (the "Loan") by Lender to MEDICAL VILLAGE OF CYPRESS CREEK LP, a Texas
limited partnership (the "Borrower"), executed by Borrower, in the original principal sum of FOUR
HUNDRED SIXTY-SEVEN THOUSAND ONE HUNDRED EIGHTY-ONE AND NO/IOO DOLLARS
($467,181.00) (which, togetherwith anyrenewals, extensions, modifications orreaffangements ofsameprior
to the date hereofare collectively referred to as the "Note"), payable to the order ofLender; and,

            WHEREAS, the Note is secured by the following documents (which along with any and all
agreements, deeds of trust, security agreements, collateral assignments, financing statements, assignments
and pledges given to secure the Note or executed in connection with the Note and any renewals, extensions,
modifications and rearrangements of same prior to the date hereof are collectively referred to herein as the
"Security Documents"):

            1           Deed of Trust and Security Agreement (the "Original Deed of Trust") dated of even date
                        with the Original Note, executed by Borrower and original filed for record under County
                        Clerk's File No. RP-2018-409487 of the Real PropertyRecords ofHARRIS County, Texas;

            2.          Collateral Assignment of Leases and Rents (the "Original Assignment of Leases and Rents")
                        dated of even date with the Original Note, executed by Borrower and original filed for
                        record under County Clerk's File No. RP-2018-409488 of the Real Property Records of
                        HARRIS County, Texas;

covering the real property described on Exhibit "A." attached hereto and made a part hereoffor all purposes
(refened to herein as the "Land"); and

        \ryHEREAS, Borrower caused to be issued by Title Resources Guaranty Company (the "Title
Company") to Lender that certain Loan Policy of Title Insurance No, 2390-L- 1823921-VGHF (the "Policy")
dated September 6, 2018, in the amount of the $467,181.00, insuring the dignity and priority of the liens
created and evidenced by the Original Deed of Trust; and

     WHEREAS, Borrower caused HUONG LE NGUYEN, MINH CHI NGUYEN' 1960 FAMILY
PRACTICE, P.4., a Texas professional association and TEXAS RADIOLOGY ASSOCIATES, P.4., a
Texas professional association (collectively, the "Guarantors") to execute and deliver to Lender that certain

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Guaranty Agreement (the "Guaranty") dated                of   even date with the Original Note pertaining           to    and
guaranteeing payment of the Note and the Loan and performance of other obligations relating to the Loan
by Borrower; and

          \ryHEREAS, Borrower desires to modify, renew and rearrange the terms ofthe Loan              as   well   as   ratify
all liens securing its payment as hereinafter set forth.

         NOW, THEREFORE, in consideration of the sum of TEN AND NO/I00 DOLLARS ($10.00), the
receipt and sufficiency of which are hereby acknowledged and the further consideration of the benefits to
accrue to the parties to this agreement (the "First Modifîcation"), Borrower agrees that the terms and
conditions of the Note, and the Security Documents shall be modified as follows:

                       The true and lawful principal balance remaining due and unpaid on the indebtedness
                       evidenced by the Note as of the Effective Date, is the sum ofFOUR HUNDRED TWENTY-
                       sIX THOUSAND ONE HUNDRED NINETY-SIX AND 74l I 00 DOLLARS ($426,196.7 4).
                       Borrower promises to pay to the order of Lender all such amounts which are advanced and
                       outstanding from time to time on the Note.

            2.         The maturity date as set forth in the Original Note is changed to November 27,2021 (the
                       "scheduled Maturity Date"). The maturity date as shown in the Deed of Trust is changed
                       to November 27,2021.

            J          From and after the Effective Date hereof the Applicable Interest Rate shall remain                  as
                       described in the Original Note.

           4.          From and after the Effective Date hereof the monthly payment amount as used in the
                       Original Note (the "Monthly Payment Amount") shall be remain as described in the Original
                       Note.

            5.         From and after the Effective Date hereof, principal and interest shall be paid as follows:

                       Consecutive monthly installments of principal and interest, each in the Monthly Payment
                       Amount, shall be payable on the 27th day of each month beginning on September 27 ,2021 .
                       The entire unpaid principal balance and accrued, unpaid interest shall be due and payable
                       on the Scheduled Maturity Date or on any earlier date on which the unpaid principal balance
                       of this Note becomes due and payable, by acceleration or otherwise.

           6            In addition to the periodic payments specified above, Borrower agrees that upon Borrower's
                       execution hereof, Borrower shall pay to Lender (i) all of Lender's unreimbursed expenses
                       relating to the Loan, (ii) all of Lender's attorneys fees incurred in connection with this First
                       Modification, and (iii) interest paid through August 27 ,2021.

           7           The parties hereto do hereby extend all liens represented by the Original Deed of Trust until
                       the Loan, as so rene\¡/ed and extended, has been fully paid, and agree that this extension and
                       rearrangement shall in no manner affect or impair the provisions of the Note, the Deed of
                       Trust or any of the other documents evidencing, securing or relating to the Loan, and that
                       the liens securing the Loan shall not in any manner be waived. Further, this renewal


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                 ând/or the failure of Lender to exercise its rights under the instruments evidencing or
                 securing the Loan in connection with any existing default shall not act as a waiver of
                 Lender's right to exercise said rights at any time in the future. This First Modification
                 shall not affect any property which has been previously released of record from the
                 Deed of Trust.

        8        Contemporaneously with the execution and delivery hereof, Borrower shall cure any new
                 matters reported by the Title Company to which Lender may object in a manner acceptable
                 to Lender and Borrower shall pay the costs for a modification endorsement to the existing
                 Policy covering all of the Land covered under the Original Deed of Trust and insuring the
                 lien of the Original Deed of Trust as a valid and subsisting first lien as herein modifìed.

        9        Except as modified hereby the provisions, representations and conditions of the Note, the
                 Security Documents and any other documents evidencing, securing or relating to the Loan,
                 shall remain in full force and effect, enforceable in accordance with their terms and are
                 hereby acknowledged by Borrower to be valid and subsisting.

         10.     Borrower and Guarantors, by executing this First Modification, hereby declare that they
                 have no setoffs, counterclaims, defenses or other causes ofaction against Lender arising out
                 ofthe Loan.

        I   l.   Guarantors, by j oining in this First Modification, hereby acknowledge the amendment to the
                 Loan as described herein and hereby consent and agree thereto and declare that said
                 guarantee(s) of the Loan, as evidenced by the Guaranty, shall remain in full force and effect,
                 enforceable in accordance with the terms of said Guaranty and covering the Note as hereby
                 renewed.

        T2,      This First Modifrcation shall be binding upon the heirs, legal representatives, successors and
                 assigns of the parties hereto and shall be construed in accordance with the laws of the
                 State of Texas.

        13       THIS \ryRITTEN MODIFICATION REPRESENTS THE FINAL AGREEMENT
                 BET\ilEEN THE PARTIES AND MAY NOT BE CONTRADICTED BY EVIDENCE
                 OF PRIOR, CONTEMPORANEOUS, ORSUBSEQUENT ORAL AGREEMENTS OF
                 THE PARTIES. THERE ARE NO ORAL AGREEMENTS BET\ryEEN THE
                 PARTIES.

        It is understood    and agreed that except as to such changes made herein and in the terms and
provisions of the Note and the Security Documents, as originally written, shall be brought forward and
remain in all respects unchanged and that the balance owing thereon as herein renewed, rearranged, modified
and/or extended is subject to no offsets, deductions, credits, charges or claims of whatsoever kind or
character and shalt be due and payable in the manner herein set out, and that the aforesaid Original Deed of
Trust liens securing the payment of said Note against the Land and all of the Security Documents, except to
the extent released prior to the date hereofand except as modified, renevr'ed, rearranged and extended herein,
so as to secure the payment of the Note, shall remain in full force and effect until the full and final payment
of the Note. In the event of any conflict in the terms of the Security Documents and this First Modification,
the terms of this First Modifïcation shall prevail.


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        This First Modification may be executed in multiple counterparts, and each counterpart hereof
executed by any party shall be deemed an original and shall as to such party constitute one and the same
instrument \¡/ith all other counterparts hereof executed, regardless of whether the same or any other
counterpart hereofis executed by

         EXECUTED on the                                            ,2021,to be effective   as   ofAugust27,202l (the
"Effective Date").


 BORROV/ER:

 MEDICAL VILLAGE OF CYPRESS CREEK
 LP,   a Texas   limited partnership                          HUONG LE

 By:      Michelle-Michael Nguyen, L.L.C.,            a
          Texas limited                                       MINH
          Partner

          By:                                                 1960   FAMILY                       P.4.,   a



          By:
                                                                                   N

                                                              TEXAS RADIOLOG                      OCIATES, P.4.,        a
                                                              Texas

                                                              By:
                                                                             chi


THE STATE OF TEXAS                                $
                                                  $
COUNTY OF

       This instrument was acknowledged before me on the          of  tffiuy 202l,by
                                                              liability company, in its
Huong Le Nguyen, Manager of Michelle-Michael Nguyen, L.L.C., a Texas
capacity as General Partner of MEDICAL VILLAGE OF CYPRESS CREEK LP, a Texas limited
partnership, on behalf of said limited partnership

                                                                                                    -
                        LILIANA NUNEZ
                                                              Notary Public, State of Texas
                  Notary Publrc, State of Texas
                  Comm Exprres 12-28-2021                     My commission expires         /â-         .?-*. ?)
                     Notary lD 125534386




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THE STATE OF TEXAS                                          $
                                                            $
COUNTY OF

        This instrument was acknowledged before me on the ,"'lflo^,
                                                        L.L'C.,   Texas     liability
                                                                                           *
                                                                                           202l,by
                                                                                      company,  in its
                                                                                                       hr
Ming-Chi Nguyen, Manager of Michelle-Michael   Nguyen,          a
capacity as General Partner of MEDICAL VILLAGE         OF   CYPRESS     CREEK  LP,   a Texas limited

                           LILIANA NUNEZ
                     Notary Publrc, State of Texas
                       Comm   ExPrre   s   12-28-2021
                                                                    N     Public, State of Texas
                        Notary rD 1 25534386
                                                                    My commission expires:                   -Ll
THE STATE OF TEXAS                                          $


COUNTY OF               /lo    rr;t                         $




                                                                              t/o** lt J ¿n
                                                            $


     This instrument was acknowledged before me on the                                                          2021, by
HUONG LE NGUYEN, as Guarantor
                                                                              ç
                           LILIANA NUNEZ
                     Notary Publrc, State of Texas
                     Comm ExPtres 12'28-2021                        Notary Public, State of Texas
                        Nota tD 1 25534386                          My commission expires

THE STATE OF TEXAS                                          $


COUNTY OF               Ht,ç                                $
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            This instrument was acknowledged before me on the             Å-          ot   3+/-4øAt,     202t, bvMINH

                         I.ILIANA NUNEZ
                Notary Publrc, State of Texas
                Comm Exprres 12-28-2021
                                                                    Notary Public, State of Texas
                   Notary lD 125534386
                                                                    My commission expires:                   -Ùl
THE STATE OF TEXAS                                          $
                                                            $
COL]NTY OF                                                  $


        This instrument was acknowledged before me on the                 lJ&uv       of                 202l,by Huong
Le Nguyen, President of 1960 FAMILY PRACTICE, P.4.,                       a   Texas             association, on behalf of
said professional association, in its capacity as Guarantor,

                ll
                                LILIANA NUNEZ
                         Notary Publrc, State of Texa               N     Public, State of Texas
                          Comm    ExPrre     s 12-28-2021
                                                                    My commission expires:
                              Notary rD 1 25534386


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THE STATE OF TEXAS                                       $
                                                         $
COUNTY OF            L/nrr;s                             $


        This instrument was acknowledged before me on the                        l4        O^,   * l¿í*/r"       ,2021,by Minh
Chi Nguyen, President of TEXAS RADIOLOGY ASSOCIATES, P.4.,                                        a     professional association,
                                                                                                      Têxas
on behalfofsaid professional association, in its capacity as Guarantor.

                            LILIANA NUNEZ
                   Notary Publlc, State of Ïexas
                                          s 12-28-2021                  N     Public, State  Texas
                    Comm         ExPrre
                       N   ota     tD 1 25534386                        My commission expires                           Lt

        INDEPENDENT BÄNK, a state banking association, being the owner and holder of the said
indebtedness being the subject matter of this First Modification, joins in execution to evidence its acceptance
of the terms hereof.


                                                                        INDEPENDENT BÄNK, a state banking
                                                                        association
                                                                                            .a', ^
                                                                                           (lz/çr'¿'
                                                                        By:
                                                                        Name:          F           /4-7-f

                                                                        Title:         f   ,/P

THE STATE OF TEXAS                                       $
                                                         $
COUNTY OF

        This                              acknowledged before me on              tn"   /tfia^v              5e¡$4fur;¡!4
                                                                  Él//                                 "r
        a state                                              f of said banking association.
                           LILIANA NUNEZ
                  Nolary Publrc, State of Texas
                  Comm ExPrres 12-28'2021                               Notary Public, State of Texas
                     Notary lD 125534386
                                                                        My commission expires:

AFTER RECORDING RETURN TO

Attn: Liliana Nunez
INDEPENDENT BANK
750 Bering Drive, Suite 500
Houston, Texas77057




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